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     6   Attorneys for Defendant
         CBS STUDIOS INC.
     7

     8                                    UNITED STATES DISTRICT COURT

     9                                  CENTRAL DISTRICT OF CALIFORNIA

    10

    11   DELRAY RICHARDSON p/k/a DELRAY                                 Case No. CV12-7925 ABC (SHx)
         d/b/a DEL FUNK BOY MUSIC, an                                   Honorable Audrey B. Collins
    12   individual, and STERLING A.
         SYNDER d/b/a/ ZION RECORDS,
    13   an individual,                                                 REPLY TO PLAINTIFFS’
                                                                        RESPONSE TO DEFENDANT’S
    14                              Plaintiffs,                         “UNDISPUTED MATERIAL FACTS”
         vs.                                                                      -and-
    15                                                                  SEPARATE STATEMENT OF
         CBS STUDIOS INC., d/b/a CBS                                    “UNDISPUTED FACTS” IN
    16   TELEVISION DISTRIBUTION, a                                     OPPOSITION TO DEFENDANT’S
         division of CBS CORPORATION,                                   MOTION FOR SUMMARY JUDGMENT
    17   a Delaware corporation,

    18                  Defendants.                                          Date:        September 30, 2013
         __________________________________/                                 Time:        10:00 a.m.
    19                                                                       Ctrm:        680
                                                                                          Roybal Building
    20

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         _____________________________________________________________________________________________________________________
    27                     REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S
         UNDISPUTED MATERIAL FACTS -and- SEPARATE STATEMENT OF UNDISPUTED
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     1                                          DEFENDANT’S REPLY TO

     2      PLAINTIFFS’ RESPONSE TO DEFENDANT’S UNDISPUTED MATERIAL FACTS

     3   Undisputed Fact No. 1

     4            “Jean-Yves Ducornet (“Jeeve”) is a composer and a one-half

     5   owner of the copyrights which Plantiffs alleged have been

     6   infringed.”

     7            Defendant’s Reply to Plaintiffs’ Response

     8            Plaintiffs have agreed that this is UNDISPUTED.

     9            Plaintiffs go on with a lengthy “however” argument which

    10   does not refer to any proof of a dispute with respect to this

    11   fact.       Nor does it take away from their agreement with

    12   Defendant’s Undisputed Fact No. 1.

    13            The argument offered in support of Plaintiffs’ statements

    14   regarding Undisputed Fact No. 1 is merely opinion with no

    15   citations to evidence.

    16            Their “supporting evidence” is not authenticated, immaterial

    17   and contains improper legal argument.

    18   Undisputed Fact No. 2

    19            “At all relevant times, PEN Music Group, Inc. (“PEN”) had

    20   the right to provide non-exclusive licenses of any or all of

    21   Jeeve’s works (including those of which he is a co-owner) to

    22   third parties for uses in all media.”

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         _____________________________________________________________________________________________________________________
    27                     REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S
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     1            Defendant’s Reply to Plaintiffs’ Response

     2            Plaintiffs dispute this fact, but their reason is non-

     3   responsive and their supporting evidence inadmissible.1                                               Further,

     4   Plaintiffs offer no evidence that contradicts the fact that PEN

     5   administered Jeeves catalogue of works.

     6   Undisputed Fact No. 3

     7            “Pursuant to his administration agreement with PEN, Jeeve

     8   delivered certain of his musical works (created either alone or

     9   with Richardson to PEN and PEN in turn delivered each of the

    10   works to Anisa Productions, Inc. (formerly known as Supermodel,

    11   Inc.), the producer of a television show entitled ‘America’s Next

    12   Top Model’ for review and decision about which and how much they

    13   wanted to use.”

    14            Defendant’s Reply to Plaintiffs’ Response

    15            Plaintiffs dispute this fact on the basis that they “have

    16   never see [sic] any administration agreement.”                                        This is clearly

    17   insufficient to create a triable issue, nor does it even address

    18   the substance of the Undisputed Fact.                                 Their supporting evidence

    19   is inadmissible as discussed more fully in Defendant’s Objections

    20   and Motion to Strike Declaration of Delray Richardson (“Def.’s

    21   Obj. to Richardson Decl.”)

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                  1
    24           For this and all other references to evidentiary legal
         arguments, please refer to Defendant’s Objections and Motion to
    25   Strike the Declaration of Delray Richardson.

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         _____________________________________________________________________________________________________________________
    27                     REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S
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     1            Undisputed Fact No. 4

     2            “The producers of ANTM would select tracks that they wanted

     3   to use in ANTM and PEN would issue licenses for those tracks.”

     4            Defendant’s Reply to Plaintiffs’ Response

     5            Again, Plaintiffs’ denial has nothing to do with the basic

     6   fact at issue–the procedure used by PEN to license music for use

     7   in ANTM. Plaintiffs have failed to assert any facts or evidence

     8   that would dispute this fact.

     9   Undisputed Fact No. 5

    10            “Richardson has admitted that the only possible source of

    11   any of the Plaintiffs’ Works that appeared in ANTM was PEN.”

    12            Defendant’s Reply to Plaintiffs’ Response

    13            Plaintiffs dispute this fact, but ignore that Richardson

    14   testified at his deposition that the only source of the music he

    15   heard being played on television would have been from PEN.                                                  See

    16   Deposition of Delray Richardson, p. 40, l. 15 through p. 41, l.

    17   24.      Further, Plaintiffs offer no evidence that the music could

    18   have been from any other source.

    19   Undisputed Fact No. 6

    20            “Plaintiffs do not claim that any of Plaintiffs’ Works were

    21   secured by the ANTM producer from any other source.”

    22            Plaintiffs Response

    23            Plaintiffs dispute this fact but offer a non-responsive

    24   reason and inadmissible evidence.                              Again, no evidence of any

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         _____________________________________________________________________________________________________________________
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     1   other possible source is offered

     2   Undisputed Fact No. 7

     3            Ultimately, CBS received the copyrights to all episodes of

     4   ANTM, including rights to the music used therein, from the

     5   producer.

     6            Defendant’s Reply to Plaintiffs’ Response

     7            This is another non-responsive denial based on inadmissible

     8   evidence.

     9   Undisputed Fact No. 8

    10            “After Jeeve created each of the musical compositions at

    11   issue, he gave them to Richardson without titles with the idea

    12   that Richardson would add additional material.”

    13            Defendant’s Reply to Plaintiffs’ Response

    14            “Plaintiff [sic] denies all truthfulness of this statement.”

    15            This statement, followed by unsworn “testimony” by

    16   Richardson is clearly ineffective at creating an issue of

    17   material fact. S.A. Empresa de Viacao Aerea Rio Grandense v.

    18   Walter Kidde & Co., Inc., 690 F. 2d 1235, 1238 (9th Cir. 1982)

    19   Undisputed Fact No. 9

    20            “Richardson then assigned his own titles to the tracks

    21   without Jeeve or PEN’s knowledge.”

    22            Defendant’s Reply to Plaintiffs’ Response

    23            “Plaintiff [sic] denies all truthfulness of this statement.”

    24            This statement, followed by unsworn “testimony” by

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    26                                                           -5-
         _____________________________________________________________________________________________________________________
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     1   Richardson is clearly ineffective at creating an issue of

     2   material fact.              S.A. Empresa de Viacao Aerea Rio Grandense v.

     3   Walter Kidde & Co., Inc., 690 F. 2d 1235, 1238 (9th Cir. 1982)

     4   Undisputed Fact No. 10

     5            “When PEN licensed the tracks, it did not do so under the

     6   titles arbitrarily assigned by Richardson.”

     7            Defendant’s Reply to Plaintiffs’ Response

     8            “Plaintiff [sic] denies all truthfulness of this statement.”

     9            The ensuing discourse on what Jeeve “admitted” is

    10   inadmissible hearsay because it is submitted to prove the truth

    11   of what a third party said in an out of court statement and Jeeve

    12   is not a party to this action.                           FRE 801(c).

    13   Undisputed Fact No. 11

    14            “Richardson refused to provide CBS an exact copy of what he

    15   deposited with the Copyright Office, instead providing a compact

    16   disc which he said he created after he was asked to produce the

    17   ‘deposit copy’ in discovery in this case.”

    18            Defendant’s Reply to Plaintiffs’ Response

    19            “Plaintiff [sic] denies all truthfulness of this statement.”

    20            Once again, this statement is followed by unsworn testimony,

    21   none of which is contained in Richardson’s Declaration.                                                S.A.

    22   Empresa de Viacao Aerea Rio Grandense v. Walter Kidde & Co.,

    23   Inc., 690 F. 2d 1235, 1238 (9th Cir. 1982)                                    The pages and lines

    24   from his deposition do not say what he says they do.

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         _____________________________________________________________________________________________________________________
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     1   Undisputed Fact No. 12

     2            “Richardson admitted that the deposit copies he filed did

     3   not contain any identification by title of the 11 individual

     4   tracks that were supposedly included in the “Del Funk Boy Music

     5   and Paperwork Production tracks library.”

     6            Defendant’s Reply to Plaintiffs’ Response

     7            This is non-responsive and does not address the substance of

     8   the undisputed fact.                   Further, it ignores Mr. Richardson’s

     9   express admission at page 21 of his deposition that he did not

    10   assign any titles to the works.

    11   Undisputed Fact No. 13

    12            “None of the copyrights were registered until years after

    13   the alleged infringement in 2003.”

    14            Defendant’s Reply to Plaintiffs’ Response

    15            Plaintiffs claim to dispute this fact but offer only

    16   argument about the statute of limitations, an issue which

    17   Defendant has not raised.                       Plaintiffs have failed to assert any

    18   facts or evidence that would dispute this fact.

    19   Undisputed Fact No. 14

    20            “Plaintiffs do not have any admissible proof that they

    21   suffered any loss because of the alleged infringements.”

    22            Defendant’s Reply to Plaintiffs’ Response

    23            Plaintiffs dispute this and state that they “have proof

    24   Defendant falsified cue sheets and Defendant is benefitting from

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         _____________________________________________________________________________________________________________________
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     1   the falsified cue sheet [sic].”                            Such proof is not only non-

     2   existent, it does not relate to losses that Plaintiffs might have

     3   suffered if in fact infringement occurred.

     4   Undisputed Fact No. 15

     5            “Plaintiffs have no proof of a causal connection between the

     6   use of small portions of instrumental, incidental music and any

     7   profits made by CBS on any particular episode of ANTM, or on all

     8   of the episodes.”

     9            Defendant’s Reply to Plaintiffs’ Response

    10            Plaintiffs dispute this fact with citations to articles and

    11   a receipt from Best Buy which are inadmissible hearsay.                                                Further,

    12   the articles are talking about generalities and are therefore

    13   irrelevant to this undisputed fact. Plaintiffs are required to

    14   show Defendants’ profits in order to recover these kind of

    15   damages, but they have offered no such evidence.                                          Plaintiffs have

    16   failed to assert any facts or evidence that would dispute this

    17   fact.

    18   Undisputed Fact No. 16

    19            “As to the Snyder Works, there is no dispute that what was

    20   licensed was the instrumental version of the two works that Jeeve

    21   created before the Snyder Works were produced.”

    22            Defendant’s Reply to Plaintiffs’ Response

    23            The response is unsworn testimony.                               Plaintiffs supporting

    24   evidence consists of unauthenticated documents attached to the

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         _____________________________________________________________________________________________________________________
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     1   Declaration of Delray Richardson.                              No evidence is offered that

     2   anything but the instrumental version was licensed.

     3   Undisputed Fact No. 17

     4            “The alleged infringements of ‘Love You So’ and ‘I Don’t

     5   Care’ occurred in Episode 1, 5 and 9 of Season of the show, the

     6   latest of which (Episode 9) was first broadcast on July 8, 2003.”

     7            Defendant’s Reply to Plaintiffs’ Response

     8            Plaintiffs’ response is completely non-responsive and

     9   Plaintiffs have offered no evidence to dispute this undisputed

    10   fact which establishes that Plaintiffs have no legal right to

    11   statutory damages.

    12   Undisputed Fact No. 18

    13            “The alleged infringements of the two Snyder Works first

    14   occurred in Episode 11 of Season 2, broadcast in 2004 and Episode

    15   7 of Season 8, broadcast in 2007.”

    16            Defendant’s Reply to Plaintiffs’ Response

    17            Again, “Plaintiff [sic] denies all truthfulness of this

    18   statement” without facts or other evidence, only unsworn

    19   testimony/legal argument.                       Plaintiffs’ response does not alter

    20   the fact that Plaintiffs are not entitled to statutory damages

    21   because the alleged infringements occurred years before the

    22   purported copyright was obtained.                              Plaintiffs have failed to

    23   assert any facts or evidence that would dispute this fact.

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         _____________________________________________________________________________________________________________________
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     1                                           DEFENDANT’S REPLY TO

     2            PLAINTIFF’S “SEPARATE STATEMENT OF UNDISPUTED

     3   FACTS IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT”

     4   Undisputed Facts No. 1 through 8

     5            “The Musical Work ‘Love You So’ (Original Version) is

     6   performed in episode 109 from 32:14 until 33:37 but is not

     7   covered by any license or Schedule “A” authorizing its use by the

     8   Defendant or its affiliates.”

     9            The remaining Fact Nos. 2 through 8 are identical except

    10   referring to different songs and playing times.

    11            Defendant’s Response and Objections to Supporting Evidence

    12            Plaintiffs have no admissible evidence to support these

    13   statements, relying on the same Paragraph 20 of the Declaration

    14   of Delray Richardson and the same items they rely upon in

    15   “disputing” Defendant’s Undisputed Facts.

    16            Exhibit 16 was “provided by Defendants” in full and not with

    17   missing pages as attached to the Richardson Decl. FRE 106.

    18   Declaration of Robert S. Besser, ¶ 9.

    19            It does not appear that Plaintiffs have provided the Court

    20   with a copy of “CBS Cycle 1 DVD of America’s Next Top Model” and

    21   even if they have, the Court is not required to view hours of

    22   video to confirm Plaintiffs’ assertion.

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    27                     REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S
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     1   Undisputed Fact No. 9

     2            “Jean-Jean [sic] Ducornet and Pen Music, Inc are being

     3   allowed to collect fraudulent fees and royalties from ASCAP based

     4   on falsified cue sheets prepared by the Defendant’s employee

     5   music operations manager Donald Steever.”

     6            Defendant’s Response and Objections

     7            This “fact” is nothing more than an allegation based

     8   entirely on inadmissible hearsay (what Jeeve might have said to

     9   Richardson).             In addition, neither Jean-Yves Ducornet nor Pen

    10   Music, Inc. are parties to this action.

    11   Undisputed Fact Nos. 10 and 11

    12            No. 10:           “July 17th 2011 @ 5:P12 a.m. Jean-Yves Ducornet

    13   admits to Delray RIchardson and Pen Music, Inc that ‘cue sheet

    14   109 list [sic] more songs than were used’ and ‘This issue is

    15   beyond his control.”

    16            No. 11:           “Jean-Yves Ducornet conceded that ‘Someone at UPN

    17   is to blame for this huge mistake, not me’ and hundreds of other

    18   writer’s would’ve also gotten paid by mistake, or not paid at all

    19   when they should have’ and ‘There’s no way to know what happen

    20   [sic] right now until one of us walks into the CBS office with

    21   the DVD and the Cue Sheet. It’s that simple.’”

    22            Defendant’s Response and Objections

    23            Again, the evidentiary support for these statements is

    24   entirely inadmissible hearsay under FRE 801(c).

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     1   Undisputed Fact No. 12

     2            “CBS has given artist songwriting credits that actually

     3   belong to other artists based on their falsified cue sheets

     4   prepared by the Defendant’s employee music operations Donald

     5   Steever.”

     6            Defendant’s Response and Objections

     7            This statement is based on inadmissible hearsay, contains

     8   legal contentions and is pure speculation.

     9   Respectfully submitted,
         Dated: September 16, 2013
    10
         LAW OFFICES OF ROBERT S. BESSER
    11

    12   By:   /s/ Robert S. Besser
             ROBERT S. BESSER
    13   Attorneys for Defendant
         CBS STUDIOS INC.
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    27                     REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S
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     1                                         CERTIFICATE OF SERVICE

     2   STATE OF CALIFORNIA:

     3   COUNTY OF LOS ANGELES:

     4        I am a member of the Bar of the State of California. I am
         over the age of 18 and not a party to the within action. My
     5   business address is 1221 Second Street, Suite 300, Santa Monica,
         California 90401.
     6
              On this date, I served the foregoing document described as
     7   REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S UNDISPUTED MATERIAL
         FACTS -and- SEPARATE STATEMENT OF UNDISPUTED FACTS IN OPPOSITION
     8   MOTION FOR SUMMARY JUDGMENT on all interested parties in this
         action by:
     9
         [XX] BY MAIL: placing a true and correct copy thereof enclosed
    10   in a sealed envelope with postage fully pre-paid and addressed as
         follows:
    11
                                         Delray Richardson, In Pro Per
    12                                  Sterling A. Snyder, In Pro Per
                                          2191 East 21st Street Box K
    13                                       Signal Hill, CA 90755

    14        I am aware that on motion of the party served, service is
         presumed invalid if the postal cancellation date or postage meter
    15   date is more than one day after the date of deposit stated in
         this affidavit.
    16
              I declare under penalty of perjury under the laws of the
    17   United States that the foregoing is true and correct. Executed
         on September 16, 2013, at San Rafael, California.
    18
                                                                         /s/ Christopher Chapin
    19                                                                  CHRISTOPHER CHAPIN

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         _____________________________________________________________________________________________________________________
    27                     REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S
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    28                   FACTS IN OPPOSITION MOTION FOR SUMMARY JUDGMENT
